                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

PEGGY RAY,                                 )
                                           )
                     Plaintiff,            )
                                           )
vs.                                        )       Case No. 07-0673-CV-W-ODS
                                           )
WERNER LADDER, INC., et al.,               )
                                           )
                     Defendants.           )

ORDER AND OPINION GRANTING (1) DEFENDANTS’ MOTION TO STRIKE AND (2)
       DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

       Harry Ray’s surviving spouse, Peggy Ray, brought this suit alleging her husband
died as a result of falling off a ladder manufactured by Defendant Werner Ladder. The
Third Amended Complaint asserts various claims, including claims of strict liability for
defective design and manufacture (Count I) and failure to warn (Count III). Defendants
seek to strike certain portions of Plaintiff’s expert’s testimony that is relevant to these
(and perhaps other) counts. In addition, Defendants seek summary judgment on Count
III. Both motions (Doc. # 141 and Doc. # 143) are granted.


                                     I. BACKGROUND


       Count III alleges that the ladder in question lacked an adequate warning about
the ladder’s propensity to “rock” or “walk” causing the user to lose his or her balance
and fall. The undisputed facts demonstrate that warnings were placed on the ladder.
The instructions for “Proper Set Up” directed the user to “[p]lace all four feet on firm
level ground to prevent excessive movements.” The instructions for “Proper Climbing
and Use” are as follows:

       1.     DO NOT OVER-REACH. You may lose your balance and/or
              tip the ladder. Keep center of waistline between side rails
              and use caution whether climbing, pushing or pulling
              anything while on the ladder.




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       2.     Always face ladder and maintain a firm grip while on it.

       3.     Never walk, bounce or move ladder while climbing or standing on it.

                                      *      *       *

       8.     When possible, have someone hold the ladder.

The ladder also warns the user to “KEEP BODY CENTERED BETWEEN SIDE RAILS.
DO NOT OVERREACH.”
       Harry Ray was using the ladder while on the job. Tim Blosser was also present;
he offered to hold the ladder while Harry was using it, but Harry declined the offer.
Harry had been using ladders for nearly forty years.
       Plaintiff has designated Stanley Kiska of Integra Engineering P.C. as an expert
witness. Two aspects of his opinion are pertinent to this discussion. First, Kiska
proposes to testify that a prototype warning label he has prepared should have been
affixed to the ladder. During his deposition, Kiska conceded the label he prepared is not
ready to put on a ladder because he has not finished it and it has not been tested in the
manner in which warning labels are usually tested. Second, Kiska proposes to testify
that a test he designed demonstrates the ladder in question was unusually prone to
moving or “racking.” In response to Defendants’ motion, Plaintiff explains that the test
utilized in the industry is called a “racking test” and involves hanging a weight on the
bottom step of the ladder. Lateral force is then applied to the ladder to determine how
much the ladder twists and the level of force necessary to cause one or more of the
ladder’s legs to lift off the ground. Kiska developed a modified form of this test he refers
to as an “induced walking test.” The modifications consist of placing the weight closer
to the top of the ladder and measuring (and divining some meaning from) the distance
the ladder’s leg(s) rise off the ground when various amounts of lateral force are applied.
Kiska’s “induced walking test” has not been peer reviewed, examined, or otherwise
utilized. Kiska’s report does not indicate he subjected the ladder Harry Ray used to the
induced walking test.




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                                      II. DISCUSSION


                                     A. Motion to Strike


       Defendants do not quarrel with Kiska’s qualifications, but allege certain aspects
of his testimony is inadmissible under Rule 702 of the Federal Rules of Evidence and
the Supreme Court’s decision in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.
579 (1993). The Court agrees.
       Rule 702 permits the use of specialized knowledge if it will “assist the trier of fact
to understand the evidence or to determine a fact in issue,” but only if “(1) the testimony
is based upon sufficient facts or data, (2) the testimony is the product of reliable
principles and methods, and (3) the witness has applied the principles and methods
reliably to the facts of the case.” Rule 702 was promulgated following the Supreme
Court’s decisions in Daubert and Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999),
which established the district court’s role as a “gatekeeper” to insure that expert
testimony is relevant, reliable, and helpful to the trier of fact. Case law establishes a list
of factors that, depending upon the facts of the case and the field of expertise at issue,
may be helpful in conducting this inquiry. These factors include “(1) whether the
expert's methodology has been tested; (2) whether the technique has been subjected to
peer review and publication; (3) whether the technique has a known or knowable rate of
error; and (4) whether the technique has been generally accepted in the proper
scientific community.” Turner v. Fire Equipment Co., 229 F.3d 1202, 1207-08 (8th Cir.
2000) (citing Daubert v. Merell Dow Pharm., Inc., 509 U.S. 579 (1993)). These factors
are guides; not all of them may be relevant in a given field, and unlisted factors may be
useful in a particular case. Kumho Tire, 526 U.S. at 150; Jaurequi v. Carter Mfg. Co.,
173 F.3d 1076, 1082 (8th Cir. 1999).
       Plaintiff declares she will not seek to admit evidence of Kiska’s prototype warning
“unless defendants open the door to such evidence.” The Court has difficulty divining a
circumstance in which the door could be opened. The key issue is not whether a
different warning could be created; the key issue is whether a better warning could be

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created. Even if Defendants contend there is no evidence of a “better” warning, Kiska’s
prototype could not be admitted because there is no reason to believe his prototype is
“better” than what was already on the ladder. Kiska’s statements about his prototype
demonstrates any testimony about its efficacy would be unreliable because his
proposed warning has not been tested in the manner he concedes a warning should be
tested.
         Plaintiff argues Kiska’s induced walking test is admissible because it is based on
and derived from the standard racking test used in the industry. This argument misses
the mark because the issue is whether the test Kiska used is reliable – and nothing in
the record permits the Court to conclude that it is. Kiska has changed at least one
aspect of the standard test – the placement of the weight – because he believes it
provides a better indication of a ladder’s relative tendency to move. His belief does not
make it so, and there is nothing in the record to indicate Kiska is correct. Similarly, he
finds meaning in the vertical distance the ladder’s leg(s) rise, while the standard test
does not – and nothing in the record demonstrates the meaning he derives is of any
value.
         The induced walking test has not been peer-reviewed, utilized by other experts,
or accepted in the field. These are important factors when discussing engineering
principles, particularly those designed to divine meaning from measurements that can
be made for every product of a given type. Different results may be had by placing the
weight higher on the ladder, but how does the Court (or the jury) know those differences
are important? Different ladders may rise a greater distance than others, but what do
those differences mean? Absent some indication beyond Kiska’s unilateral belief that
the induced walking test produces meaningful and reliable information, his testimony
based on that test may not be admitted.


                            B. Summary Judgment on Count III


         A moving party is entitled to summary judgment on a claim only if there is a
showing that "there is no genuine issue as to any material fact and that the moving party

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is entitled to a judgment as a matter of law." See generally Williams v. City of St. Louis,
783 F.2d 114, 115 (8th Cir. 1986). "[W]hile the materiality determination rests on the
substantive law, it is the substantive law's identification of which facts are critical and
which facts are irrelevant that governs." Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
248 (1986); see also Get Away Club, Inc. v. Coleman, 969 F.2d 664 (8th Cir. 1992). In
applying this standard, the Court must view the evidence in the light most favorable to
the non-moving party, giving that party the benefit of all inferences that may be
reasonably drawn from the evidence. Matsushita Elec. Indus. Co. v. Zenith Radio
Corp., 475 U.S. 574, 588-89 (1986); Tyler v. Harper, 744 F.2d 653, 655 (8th Cir. 1984),
cert. denied, 470 U.S. 1057 (1985). However, a party opposing a motion for summary
judgment "may not rest upon the mere allegations or denials of the . . . pleadings, but
. . . by affidavits or as otherwise provided in [Rule 56], must set forth specific facts
showing that there is a genuine issue for trial." Fed. R. Civ. P. 56(e).

               The elements of a cause of action for strict liability-failure to warn
       are: (1) defendant sold the product in question in the course of defendant's
       business; (2) the product was unreasonably dangerous at the time of sale
       when used as reasonably anticipated without knowledge of its
       characteristics; (3) the defendant did not give adequate warning of the
       danger; (4) the product was used in a reasonably anticipated manner; and
       (5) plaintiff was damaged as a direct result of the product being sold
       without an adequate warning.

Tune v. Synergy Gas Corp., 883 S.W.2d 10, 13 (Mo. 1994) (en banc). “There are two
separate requirements of causation in a failure to warn case: (1) the product for which
there was no warning must have caused plaintiff's injuries, and (2) the plaintiff must
show that a warning would have altered the behavior of those involved in the accident.”
Id. at 14.
       The record demonstrates Plaintiff cannot satisfy the second component of the
causation element. In this case, there are warnings about the dangers involved in using
the ladder and instructions on how to use it properly. Moreover, the danger in question
– that if one twists or shifts one’s weight off the center of the ladder there is a risk that
the ladder will become imbalanced and cause the user to fall – is readily apparent to

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anyone using a ladder. Missouri law does not require manufacturers to warn of dangers
that are open and obvious or commonly known. Campbell v. American Crane Corp., 60
F.3d 1329, 1333 (8th Cir. 1995) (holding Missouri law did not require warning that a
person walking on the boom of a crane might fall off and injure themselves).
       The danger that a ladder would move if the user’s weight shifted away from the
ladder should have been particularly apparent to Harry Ray, who had been using
ladders for nearly forty years. Plaintiff characterizes this as an assumption about Harry,
but it is an assumption Missouri law permits. In Menz v. New Holland North America,
Inc., the Eighth Circuit was confronted with a case involving a tractor that rolled over
and pinned the operator to the ground, injuring him. The plaintiff, who estimated that he
had used the tractor for “hundreds of hours,” had installed a front-end loader and was
using the loader to transport dirt from the bottom of a levee to a nearby hill to decrease
the incline of the hill. The tractor became imbalanced when the plaintiff raised the
loader to dump the dirt, undoubtedly because the tractor was not on level ground when
this maneuver was attempted. The plaintiff filed suit, alleging (among other things) that
the defendants failed to warn users of the risk that the tractor might become imbalanced
if a heavy load was lifted while the tractor was sitting on the incline of a hill. After
holding the plaintiff’s claim failed for lack of expert evidence, the Court of Appeals held
“even if expert testimony were not required, Menz failed to provide any other evidence
demonstrating a warning would have altered his behavior. Although Missouri law
recognizes a rebuttable presumption that a warning will be heeded, this presumption
arises only when there is sufficient evidence from which a jury could find the plaintiff did
not already know of the specific danger involved.” 507 F.3d 1107, 1112 (8th Cir. 2007).
The court found it significant that the plaintiff had operated the tractor for a long time
and knew from “common sense” that a tractor will tip over if it is driven over a sufficiently
steep incline and that he needed to be careful while carrying a load on a hill.
       In the case at bar, there is no evidence that would permit a jury to conclude Harry
Ray did not know that if he leaned or twisted the ladder would rock or move and he
would become imbalanced. To the contrary, common sense dictates that balance will
be lost if one twists or leans while on a ladder. Common sense also dictates that a

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ladder will be more stable if a second person holds it – but Harry declined such
assistance. On this record, Plaintiff is not entitled to a presumption that Harry would
have acted differently if a different warning was on the ladder and a jury cannot
conclude alleged inadequacies in the warning led to Harry’s injuries.


                                   III. CONCLUSION


       For these reasons, Stanley Kiska will not be permitted to testify about his
prototype warning label or the results of the induced walking test. Furthermore,
summary judgment is granted to Defendants on Count III of the Third Amended
Complaint.
IT IS SO ORDERED.



                                                 /s/ Ortrie D. Smith
                                                 ORTRIE D. SMITH, JUDGE
DATE: November 3, 2008                           UNITED STATES DISTRICT COURT




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